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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA
                                            Date of Arrest: March 25, 2025

UNITED STATES OF AMERICA                )
                                        )   Magistrate’s Case No. 25-01414MJ
          Plaintiff,                    )
                                        )   COMPLAINT FOR VIOLATION OF
               vs.                      )   21 U.S.C. §§ 952, 960(a)(1) and
                                        )   960(b)(1)(B) Importation of Cocaine
Macario GONZALEZ                        )   Count One
                                        )
                                        )   21 U.S.C. §§ 841(a)(1) and
           Defendant.                   )   (b)(1)(A)(ii) Possession with Intent
                                        )   to Distribute Cocaine
                                        )   Count Two
YOB:1970                                )
(English Speaker)


I, the undersigned complainant, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:


                                   COUNT ONE

On or about March 25, 2025, at or near San Luis, Arizona, within the
District of Arizona, defendant, Macario GONZALEZ, did knowingly and
intentionally import and attempt to import 5 kilograms or more of a
mixture and substance containing a detectable amount of cocaine, a
Schedule II controlled substance, into the United States from the
Republic of Mexico, in violation of Title 21, United States Code,
Sections 952, 960(a)(1) and (b)(1)(B)(felony).

                                   COUNT TWO

On or about March 25, 2025, at or near San Luis, Arizona, within the
District of Arizona, defendant, Macario GONZALEZ, did knowingly and
intentionally possess with intent to distribute 5 kilograms or more of
a mixture and substance containing a detectable amount of a detectable
amount of cocaine, a Schedule II controlled substance, in violation of
Title    21,    United    States   Code,   Sections    841(a)(1)   and
841(b)(1)(A)(ii)(felony).
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And the complainant states that this complaint is based on the attached
Statement of Probable Cause incorporated herein by reference.


Reviewed by: AUSA Vanessa Kubota




                                   Colin Cummings
                                   Special Agent – Homeland Security
                                   Investigations

                                                            26th
Sworn to before me and subscribed telephonically, on this ________ day
of ____________,
      March      2025, at Yuma, Arizona.



                                   James F. Metcalf
                                   United States Magistrate Judge
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                              STATEMENT OF PROBABLE CAUSE
      I, Colin Cummings, Special Agent of Homeland Security
Investigations, being duly sworn, declare and state as follows:


                       INTRODUCTION AND BACKGROUND OF AFFIANT
      1.   Your Affiant, Colin Cummings, am a Special Agent (SA) with
Homeland Security Investigations (HSI) assigned to the Yuma, Arizona,
office.       Your affiant has been a Special Agent for HSI since April
2023. Your affiant has attended and completed the Criminal Investigator
Training Program (CITP) and Homeland Security Investigations Special
Agent Training (HSI/SAT) at the Federal Law Enforcement Training Center
(FLETC)    in     Glynco,    Georgia.      Your    Affiant    has      received     specialized
training and has experience in investigating violations of Titles 8,
18, 19, 21, and 31 of the United States Code to include violations
related to narcotics smuggling.              Prior to becoming a Special Agent for
HSI   Yuma,     your    affiant    was a    Patrol    Officer       with    the   Philadelphia
Police Department beginning in 2014.                  During this time, your affiant
was assigned to the 18th Police District Tactical Squad responsible for
the   proactive        policing    of    violent    criminal     offenses         and    open-air
narcotics sales.
      2.   In     preparing       this   Affidavit,    I     conferred       with       other   law
enforcement officials, who share the opinions and conclusions stated
herein.       I have personal knowledge of the following facts or have
learned them from other law enforcement officers.                       I also relied on my
training, experience, and background in law enforcement to evaluate
this information.           Since this Affidavit is being submitted for the
limited purpose of establishing probable cause for a complaint, I have
not included each and every fact or source of information establishing
the violation of federal law.
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                                         PROBABLE CAUSE
    3.      On March 25, 2025, at approximately 1329 hours, the defendant,
Macario GONZALEZ, presented himself and his vehicle for inspection and
entry into the United States via the vehicle primary lanes at the San
Luis, Arizona, Port of Entry (POE). GONZALEZ was the driver, registered
owner, and sole occupant of a blue 2007 Honda Civic bearing Arizona
license plate 23A4TL.
    4.      While the Honda Civic was in the primary inspection lane, the
Customs   and      Border     Protection       Officer    (CBPO)      received      a    computer-
generated alert. The CBPO obtained a negative customs declaration from
GONZALEZ.       GONZALEZ      was   referred     to    the   vehicle       secondary      lot   for
further inspection. While at the vehicle secondary lot, a CBPO obtained
a second negative customs declaration from GONZALEZ and said that he
was heading to the post office in San Luis, Arizona. CBPO asked who the
owner of the vehicle was in which GONZALEZ replied that he was the
owner and had the car for the past two or three years. GONZALEZ was
escorted to the vehicle secondary waiting lobby by CBPO.
    5.      CBPOs     utilized       their     assigned      Xpose        Contraband      Detector
(density reader) to check the vehicle’s floor and observed an abnormal
reading when checking the driver’s side rocker panel, prompting CBPOs
to inspect this area further. A CBPO removed the plastic covering the
rocker panel and observed black tape. CBPO removed the black tape and
noticed a cut out on the rocker panel. CBPO observed a package wrapped
in cellophane. A CBP K9 alerted positive to the vehicle.
    6.      A    total   of    seven     (7)   packages      containing       a   white    powdery
substance weighing a total of 8.50 kilograms were extracted from the
rocker panel. Agents performed a narcotics identification field test on
a representative sample from two random packages; the test yielded
positive for the characteristics of cocaine.
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    7.    Agents    conducted     a     post-Miranda       interview      of    GONZALEZ     at
approximately     1721   hours.   GONZALES        speaks   English     fluently,       so   the
interview was conducted in English. GONZALES said he understood his
rights and agreed to speak with the agents without a lawyer present.
Agents asked Gonzales where he lives in Arizona since at the port he
presented an AZ driver’s license with an address in Somerton, Arizona.
GONZALES said he does not associate with that address (neither lives
there nor gets mail there). Additionally, when asked about an emergency
contact in the United States, he claimed none. He said his father is
deceased, and his mother lives in Mexico. He claimed no siblings. He
also said he is unemployed. He told agents he lives in San Luis Rio
Colorado, Sonora, Mexico. GONZALEZ admitted to knowing that there were
drugs in the vehicle and said that he knew it was cocaine, but claimed
he did not know where they were concealed. “GONZALEZ stated that he
agreed to cross narcotics three times to pay for his back surgery
($3,000   USD),    claiming    this     was   just    first     attempt        to   cross   the
narcotics. GONZALEZ explained that he was directed to park at the Chase
Bank in San Luis where an unknown person would meet him and lead him to
another location to unload the narcotics. GONZALEZ then requested a
lawyer.
    8.    Based on the foregoing, I submit there is probable cause to
believe   Macario     GONZALEZ        committed     the    offenses      alleged      in    the
Complaint.



                                          Colin Cummings
                                          Special Agent – Homeland Security
                                          Investigations
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Sworn to before me and subscribed telephonically, on this ________
                                                            26th   day
of ____________,
      March      2025, at Yuma, Arizona.




                                     HONORABLE JAMES F. METCALF
                                     United States Magistrate Judge
